                                Case 23-16969                  Doc 1         Filed 09/29/23              Page 1 of 49



 Fill in this information to identify the case:

 United States Bankruptcy Court for the District of Maryland


 Case number Uf known\:                                    Chapter 1 1

                                                                                                                                   E Cnect if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                                                          06t22

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Foms for Non-lndividuals, is available.



 t. Debtor's name                            Roman Catholic Archbishop of Baltimore


 z. All other names debtor used              Roman Catholic Archdiocese of Baltimore, Archdiocese of Baltimore
     in the last 8 years
     lnclude any assumed names,
     trade names, and doing business
     as names




 g. Debtor's federal Employer
     ldentification Number (ElN)
                                             5     2_ 0 5 91 53 5

 +. Debtor's address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                          of business

                                            320 CathedralStreet
                                            Number Street                                                 Number Street

                                                                                                          P.O. Box

                                             Baltimore                       MD 21201
                                                                                                          City                        Stale       ZIP Code


                                                                                                          Location of principal assets, if differenl from
                                                                                                          principal place of business
                                              Baltimore
                                            County
                                                                                                          Number Street



                                                                                                          City                        State       ZIP Code




 s. Debtor's website (URL)                   https://www.archbalt.org




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Debtor        Roman Catholic Archbishop of Baltimorc                                        Case number (ir
             ftfi;-

 s. Type ofdebtor                        E Corporation (including Limited Liability Company (LLC) and Limitecl Liability Partnership (LLP))
                                         E Partnership (excluding LLP)
                                         E other. Speciff:

                                         A. Check one:
 z. Describe debtor's business
                                         E Health Care Business (as defined in 11 U.S.C. S 101(27A)
                                         fl Single Asset Real Estate (as defined in 1 U.S.C. S 101(518)
                                                                                     1

                                         E Railroad (as defined in 1 U.S.C. S 101(44))
                                                                       1

                                         E Stockbroker (as defined in 1 U.S.C. S 101(53A))
                                                                           1

                                         E Commodity Broker (as defined in I 1 U.S.C. S 101 (6))
                                         E Clearing Bank (as defined in 1 U.S.C. S 781(3))
                                                                               1

                                         El None ofthe above


                                         B. Check all that apply:

                                         E Tax-exempt entity (as described in 26 U.S.C. S 501)
                                         E lnvestment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            $ 80a-3)
                                         E lnvestment advisor (as defined in 15 U.S.C. S 8Ob-2(aX1 1))

                                         C. NAICS (North American lndustry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.oov/four-diqilnational-association-naics-codes    .


                                             8131
 a. Under which chapter of the           Check one:
     Bankruptcy Code is the
     debtor filing?                      E Cnapter z
                                         E Cnapter s
                                         E Ctrapter 11. Check atl that apply:
     A debtor who is a "small business
     debto/' must check the first sub-                  E The debtor is a small business debtor as defined in 1 U.S.C. $ 101(51 D), and its
                                                                                                                   1

     box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $3,024,725. lf this sub-box is selected, attach the most
     S 1 182(1) who elects to proceed
     under subchapter V of chapter I 1                        recent balance sheet, statement ofoperations, cash-flow statement, and federal
     (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor') must                            11 U.S.C. S 1116(1XB).
     check the second sub-box.                            E The debtor is a debtor as defined in 1 U.S.C. S
                                                                                                  1            1 1 82(1), its aggregate

                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. lfthis sub-box is selected, attach the most recent balance sheet,
                                                              statement ofoperations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 1 1 U.S.C.
                                                              s 1116(1XB).
                                                          E n ptan is being filed with this petition.
                                                          fl Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. S 1126(b).

                                                          D The debtor is required to file periodic reports (for example, 0K and '10Q) with the
                                                                                                                          1

                                                              Securities and Exchange Commission according to $ 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-lndividuals Filing
                                                              for Bankruptcy under Chapter 11 (Otficial Form 2014) with this form.

                                                          E The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                         E Cnapter 12




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Debtor           Roman Catholic Archbishop of Baltimorc                                          Case number l,rlnown _


 g. Were prior bankruptcy cases           El ruo
       filed by or against the debtor
       within the last 8 years?           E Yes. oi.tri"t                                 When                        Case number
                                                                                                  MM/ DD/YYYY
       lf more than 2 cases, attach a
                                                     District                             When                        Case number
       separate list.
                                                                                                  MM/ DD/YYYY

                -
    10. Are any bankruptcy cases
       pending or being filed by a
                                          E tto
       business partner or an             E yes.     Debtor                                                           Relationship
       affiliate of the debtor?                      Distric{                                                        When
       List all cases. lf more than 1,
                                                                                                                                     MM / DD /YYYY
       attach a separate list.                       Case number. if known



    tt. Why is the case filed in fhrb     Check ail that apply:
        distric{l
                                          El Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition orfor a longer part of such 180 days than in any other
                                             district.

                                          E A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

    12. Does the debtorown or have        E tto
       possession ofany real              E Yes. Answer below for each property that needs immediate aftention. Attach additional sheets if needed.
       propefi or personal propefi
       that needs immediate                        Why does the property need immediate attention? (Check allthat apfiy.)
       aftention?
                                                    fl lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazad?

                                                    E lt needs to be physically secured or protected from the weather.
                                                    E lt includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                    E ottrer

                                                   Where is the property?
                                                                                 Number          Street




                                                                                 City                                                State ZtP Code



                                                    ls the property insured?
                                                    E tto
                                                    E yes. lnsurance agency
                                                                Contaot name


                                                                Phone




I              ;,"i,",*"t and adninistrative inrormation




    Official Form 201                         Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                       page 3
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Deblor        Roman Catholic Archbis                  of Baltimore                               Case number




 t3. Debtor's estimation of               Check one:
     available funds                      I Funds will be available for distribution to unsecured creditors.
                                          E After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          E r+s                              E r,ooo-s,ooo                                E zs,oor-so,ooo
 r+. Estimated number of                  D so-ss                            fl s,oor-ro,ooo                              D so,oor-roo,ooo
     creditors                                                               E ro,oor-zs,ooo                              E More than 100,000
                                          E roo-rsg
                                          E zoo-sss
                                          El $o-$so,ooo                      E $t,ooo,oot-g1o miuion                      E $soo,ooo,ool -g'r birion
 ts. Estimated assets                     E $so,oor-$roo,ooo                 fl $r o,ooo,oor -$so mirion                  D $r,ooo,ooo,oo1-$10 birion
                                          E $roo,oor-$soo,ooo                E $so,ooo,oot-$1oo mirion                    fl $r o,ooo,ooo,oo1 -$50 birion
                                          E $soo,oot-$t mittion              E $roo,ooo,oo1-gsoo mirion                   fl More than $50 billion

                                          E $o-sso,ooo                        E $t,ooo,oor-$10 mirion                     I $soo,ooo,oo1-$1 birion
 te. Estimated liabilities                E $so,oor-$roo,ooo                  E $to,ooo,oor-$50 mirion                    E $r,ooo,ooo,oo1-g1o birion
                                          El $roo,oor-$soo,ooo                E $so,ooo,oot-g1oo mirion                   E $t o,ooo,ooo,oo1 -$bo birion
                                          fl $soo,oot-$'t mittion             E $too,ooo,oo1-$5oo milion                  E More than $50 billion


             Request for Relief, Declaration, and Signatures


  WARNING    - q6nn
               Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                                                                            (]
                      nnn nr imnricnnmanl f^r rrh l^ 2n waarc nr holh lR ll S         88 '16) 'l?4'l 151q and ?571


  rz. Declaration and signature of            The debtor requests relief in accordance with the chapter of title '1 1, United States Code, specified in this
     authorized representative of             petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor


                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.



                                          I declare under penalty ofperjury that the foregoing is true and correct.


                                              Executed on
                                                             q-29-2o2a
                                           sl /T.;,P
                                                            MM / DD /YYYY
                                                                                                           oWi ilia n €, Ql<l
                                              Signature of authorized represenlalive of debtor             Printed name


                                              Title    {rc}.1:
                                                          -9
                                                               rlrr




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,'



     Debtor        Roman Catholic Archbisho         of Baltimore                           Case number




      ra. Signature of attorney        ,c          /s/ Catherine K. Hopkin                            Date
                                                                                                                    09/29/2023
                                            Signature of altotney for debtor                                        MM /DD /YYYY

                                                   Catherine K. Hopkin
                                            Printed name
                                                   YVS Law, LLC
                                            Firm name
                                                   185 Admiral Cochrane Drive, Suite 130
                                            Number Street
                                                   Annapolis                                                    MD                 21401
                                            City                                                            State           ZIP Code

                                                   443-569-0788                                              chopkin@yvslaw.com
                                            Contaci phone                                                   Email address



                                                   28257                                                    MD
                                            Bar number                                                      State



                                            -and-

                                            Blake D. Roth (pro hac vice pending)
                                            Tyler N. Layne (pro hac vice pending)
                                            HOLLAND & KNIGHT LLP
                                            511 Union Street, Suite 2700
                                            Nashville, TN 37219
                                            Telephone: 615.244.6380
                                            Facsimile: 615.244.6804
                                            Email: blake.roth@hklaw.com
                                            tyler.layne@hklaw.com

                                            -and-

                                            Philip T. Evans (Fed. Bar No. 11796)
                                            HOLLAND & KNIGHT LLP
                                            800 17th Street, NW, Suite 1100
                                            Washington, DC 20006
                                            Telephone: 202.457.7043
                                            Email: philip.evans@hklaw.com




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                    RESOLUTION REGARDING COMMENCEMENT
              OF CHAPTER 11 REORGANIZA TION AND RELATED MATTERS

                                                        September 28,2023

       Effective as of the date written above, the undersigned, being the Archbishop of the
Archdiocese of Baltimore (the "Archbishop") with authority over the Roman Catholic
                                                      *RCAB"), takes the following actions and
Archbishop of Baltimore, a corporation sole (the
adopts, approves, and ratifies the following resolutions:

       WHEREAS, the Archbishop has considered presentations by the management and the
financial and legal advisors of the RCAB regarding the liabilities and liquidity situation of the
RCAB, the strategic alternatives available to the RCAB and the effect of the foregoing on the
RCAB's mission and ministry;

        WHEREAS, the Archbishop has consulted with the management and the financial and
legal advisors of the RCAB and fully considered each of the strategic alternatives available to
the RCAB; and

       WHEREAS, the Archbishop has sought and obtained the approval of the filing of the
Chapter 1l Case (as defined below) from the RCAB's Board of Financial Administration and
College of Consultors, in accordance with canon 1277 of the Code of Canon Law.

       NIA\I/ TTJFPtrtrrlPF EItr TT
       I lv    Yt   t   I rr!^r!r   vr\!,   pp   L L,




        RESOLVED, that in the judgment of the Archbishop, it is desirable and in the best
interests of the RCAB, its creditors, and other parties in interest, that the RCAB shall be, and is,
authorized to file or cause to be filed a voluntary petition for relief (the "Chapter 11 Case")
under the provisions of chapter 11 oftitle 1 I of the United States Code (the "Bankruptcy Code")
in the United States Bankruptcy Court for the District of Maryland (the "Bankruptcy Courf');

        FURTHER RESOLVED, that the Archbishop (the "Authorized Officer") be, and is,
authorized, empowered and directed to execute and file in the name of and on behalf of the
RCAB all petitions, schedules, lists, applications, and motions, papers, instruments and
documents, and to take any and all action that he deems necessary or proper to obtain such relief,
including, without limitation, any action necessary to maintain the ordinary course operation of
the RCAB's mission and ministry;

        FURTHER RESOLVED, that the Authorized Officer be, and is, authorized and directed
to employ in the name of and on behalf of the RCAB the law firms of Holland & Knight LLP;
Gallagher Evelius & Jones LLP; Blank Rome LLP; YVS Law LLC, and such other law firms
as may be necessary (collectively, the "Counset') as general bankruptcy counsel, local counsel,
conflicts counsel, or special co-counsel to represent and assist the RCAB in carrying out its
duties under the Bankruptcy Code and in the Chapter 11 Case, and to take any and all actions to
advance the RCAB's rights and obligations, including filing any pleadings; and in connection
with the foregoing, the Authorized Officer, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed an appropriate application for authority to retain the services of the Counsel;
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       FURTHER RESOLVED, that the Authorized Officer be, and is, authorized and directed
to employ Keegan Linscott & Associates, PC as financial and restructuring advisor (the
"Financial Advisor") to, among other things, assist the RCAB in evaluating its financial
prospects, developing a long-term business plan, developing financial data for evaluation by the
Archbishop, creditors, and other third parties, in each case, as requested by the RCAB,
responding to issues related to the RCAB's financial liquidity; and in connection with the
foregoing, the Authorized Officer, with power of delegation, is authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of the Financial Advisor;

       FURTHER RESOLVED, that the Authorized Officer be, and is, authorized and directed
to employ Epiq Corporate Restructuring LLC as claims, noticing, and balloting agent to
represent and assist the RCAB in carrying out its duties under the Bankruptcy Code, and to take
any and all actions to advance the RCAB's rights and obligations; and in connection with the
foregoing, the Authorized Officer, with power of delegation, is authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain the services of Epiq Corporate Restructuring
LLC;

        FURTHER RESOLVED, that the Authorized Officerbe, and is, authorized and directed
to employ in the name of and on behalf of the RCAB any other professionals to assist the RCAB
in carrying out its duties under the Bankruptcy Code and other applicable laws, regulations, and
rules in the ordinary course of the RCAB's mission and ministry; and in connection with the
foregoing, the Authorized Offrcer, with power of delegation, is authorized and directed to
execute appropriate retention agleements, pay appropriate retainers and fees, and to cause to be
filed an appropriate application for authority to retain the services of any other professionals as
necessafy;

        FURTHER RESOLVED, that the Authorized Officer be, and is, with power of
delegation, authorized, empowered and directed in the name of and on behalf of the RCAB to
execute and file all petitions, schedules, motions, lists, applications, pleadings, and other papers
and, in connection with the foregoing, to employ and retain all assistance by legal counsel,
accountants, financial advisors, and other professionals and to take and perform any and all
further acts and deeds that the Authorized Officer deems necessary, proper, or desirable in
connection with the Chapter I I Case, with a view to the successful prosecution of such Chapter
11 Case;

        FURTHER RESOLVED, that, in addition to the specific authoizations conferred upon
the Authorized Officer, the Authorized Officer (and his designees and delegates) be, and is,
authorized and empowered, in the name of and on behalf of the RCAB, to take or cause to be
taken any and all such other and further action, and to execute, acknowledge, deliver, and file any
and all such agreements, certificates, instruments, and other documents and to pay all expenses,
including but not limited to filing fees, in each case as in the Authorized Officer's (or his
designees' or delegates') judgment, shall be necessary, advisable, or desirable in order to fully
carry out the intent and accomplish the pu{poses of these resolutions;

        FURTHER RESOLVED, that all acts, actions and transactions relating to the matters


                                                 2
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contemplatedbythe foregoingresolutions donein thename of and onbehalf ofthe RCAB, which
acts would have been approved by the foregoing resolutions except that such acts were taken
before the adoption of these resolutions, are in all respects approved and ratified as the true acts
and deeds of the RCAB with the same force and effect as if each such act, transaction,
agreement, or certificate has been specifically authorized in advance by the authority or
resolution of the Archbishop; and

        FURTHER RESOLVED, that the Authorized Officer (and his designees and delegates)
be, and is, authorized and empowered to take all actions, or to not take any action in the name
of and on behalf of the RCAB, with respect to the transactions contemplated by these
resolutions, as the Authorized Officer shall deem necessary or desirable in the Authorized
Officer's reasonable business judgment, as may be necessary or convenient to effectuate the
pulposes of the transactions contemplated in these resolutions.

         IN WITNESS WHEREOF, the undersigned has executed this consent as of the date
 first written above.


                                                        t
                                                      *ila&; f  I
                                                               dr
                                                      Most Rev. William E. Lori
                                                      Archbishop




                                                  J
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       Fill in this information to Identify the case:

    Debtor Name: The Roman Catholic Archbishop of Baltimore
                                                                                                                                              Check if this is an
    United States Bankruptcy Court for the:             District of Maryland                                                                  amended filing
    Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 20 largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                               professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                               services, and         or disputed     setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if       Deduction          Unsecured
                                                                                                                     partially secured     for value of       claim
                                                                                                                                           collateral or
                                                                                                                                           setoff

   1       U.S. BANCORP COMMUNITY               DAVID.LUTZ@STINSON.COM         GUARANTY                 C, U, D                                                      UNKNOWN
           DEVELOPMENT CORPORATION
           C/O STINSON LLP; DAVID LUTZ
           1299 FARNAM STREET, STE. 1500
           OMAHA, NE 68102
   2       HARBOR COMMUNITY FUND XXI LLC BRYSONM@BALLARDSPAHR. GUARANTY                                 C, U, D                                                  $17,292,916.67
           C/O BALLARD SPAHR LLP         COM
           ATTN: MOLLY R. BRYSON, ESQ.
           1909 K STREET NW, 12TH FLOOR
           WASHINGTON, DC 20006

   3       UACD SUB CDE 47 LLC                  JENNIFER.SIMMONS@DENT          GUARANTY                 C, U, D                                                   $6,917,166.67
           C/O DENTONS US LLP                   ONS.COM
           ATTN: JENNIFER SIMMONS, ESQ.
           ONE METROPOLITAN SQUARE, STE.
           3000
           ST. LOUIS, MO 63102
   4       SURVIVOR 577                         TCOWAN@CLARKSONLAWFI           TORT                     C, U, D                                                      UNKNOWN
           C/O CLARKSON LAW FIRM P.C.           RM.COM
           ATTN: TRACEY COWAN
           95 3RD STREET, 2ND FLOOR
           SAN FRANCISCO, CA 94103
   5       SURVIVOR 686                         TCOWAN@CLARKSONLAWFI           TORT                     C, U, D                                                      UNKNOWN
           C/O CLARKSON LAW FIRM P.C.           RM.COM
           ATTN: TRACEY COWAN
           95 3RD STREET, 2ND FLOOR
           SAN FRANCISCO, CA 94103




Official Form 204          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                        Page 1
                                      Case 23-16969            Doc 1      Filed 09/29/23                Page 10 of 49
  Debtor: The Roman Catholic Archbishop of Baltimore                                         Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

   6    SURVIVOR 220                       TCOWAN@CLARKSONLAWFI      TORT                     C, U, D                                                      UNKNOWN
        C/O CLARKSON LAW FIRM P.C.         RM.COM
        ATTN: TRACEY COWAN
        95 3RD STREET, 2ND FLOOR
        SAN FRANCISCO, CA 94103
   7    SURVIVOR 687                       PHONE: (202) 682-5800     TORT                     C, U, D                                                      UNKNOWN
        C/O THE COCHRAN FIRM
        ATTN: DAVID E. HAYNES
        1666 K STREET NW, STE. 1150
        WASHINGTON, DC 20006
   8    SURVIVOR 688                       PHONE: (202) 682-5800     TORT                     C, U, D                                                      UNKNOWN
        C/O THE COCHRAN FIRM
        ATTN: DAVID E. HAYNES
        1666 K STREET NW, STE. 1150
        WASHINGTON, DC 20006
   9    SURVIVOR 689                       PHONE: (202) 682-5800     TORT                     C, U, D                                                      UNKNOWN
        C/O THE COCHRAN FIRM
        ATTN: DAVID E. HAYNES
        1666 K STREET NW, STE. 1150
        WASHINGTON, DC 20006
   10   SURVIVOR 29                      SNOLAN@SGS-LAW.COM          TORT                     C, U, D                                                      UNKNOWN
        C/O SMITH, GILDEA & SCHMIDT, LLC
        ATTN: STEPHEN J. NOLAN
        600 WASHINGTON AVE, STE 200
        TOWSON, MD 21204

   11   SURVIVOR 89                        MAGARABEDIAN@GARABEDI TORT                         C, U, D                                                      UNKNOWN
        C/O LAW OFFICE OF MITCHELL         ANLAW.COM
        GARABEDIAN
        100 STATE STREET #6
        BOSTON, MA 02109
   12   SURVIVOR 138                       DEREK@KBAATTORNEYS.CO     TORT                     C, U, D                                                      UNKNOWN
        C/O KBA ATTORNEYS                  M
        ATTN: DEREK BRASLOW
        336 S. MAIN STREET
        BEL AIR, MD 21014
   13   SURVIVOR 46                        DEREK@KBAATTORNEYS.CO     TORT                     C, U, D                                                      UNKNOWN
        C/O KBA ATTORNEYS                  M
        ATTN: DEREK BRASLOW
        336 S. MAIN STREET
        BEL AIR, MD 21014
   14   SURVIVOR 690                       DEREK@KBAATTORNEYS.CO     TORT                     C, U, D                                                      UNKNOWN
        C/O KBA ATTORNEYS                  M
        ATTN: DEREK BRASLOW
        336 S. MAIN STREET
        BEL AIR, MD 21014
   15   SURVIVOR 429                       KANDELPA@EROLS.COM        TORT                     C, U, D                                                      UNKNOWN
        C/O KANDEL & ASSOCIATES, P.A.
        1001 N. CALVERT STREET
        BALTIMORE, MD 21202
   16   SURVIVOR 645                       DEREK@KBAATTORNEYS.CO     TORT                     C, U, D                                                      UNKNOWN
        C/O KBA ATTORNEYS                  M
        ATTN: DEREK BRASLOW
        336 S. MAIN STREET
        BEL AIR, MD 21014



Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                  Page 2
                                      Case 23-16969            Doc 1      Filed 09/29/23                Page 11 of 49
  Debtor: The Roman Catholic Archbishop of Baltimore                                         Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

   17   SURVIVOR 692                       PHONE: (410) 653-3200     TORT                     C, U, D                                                      UNKNOWN
        C/O JANET, JANET & SUGGS, LLC
        4 RESERVOIR CIRCLE
        SUITE 200
        BALTIMORE, MD 21208
   18   SURVIVOR 693                       PHONE: (410) 653-3200     TORT                     C, U, D                                                      UNKNOWN
        C/O JANET, JANET & SUGGS, LLC
        4 RESERVOIR CIRCLE
        SUITE 200
        BALTIMORE, MD 21208
   19   SURVIVOR 106                       MATTHEW@FORESTERHAYNI TORT                         C, U, D                                                      UNKNOWN
        C/O FORESTER HAYNIE PLLC           E.COM
        ATTN: ASHLEY M. PILEIKA
        400 NORTH ST PAUL ST., STE 700
        DALLAS, TX 75201
   20   SURVIVOR 62                        JSAUNDERS@ASKLLP.COM      TORT                     C, U, D                                                      UNKNOWN
        C/O ASK, LLP
        ATTN: JUDIE SAUNDERS, ESQ.
        60 EAST 42ND STREET, 46TH FLOOR
        NEW YORK, NK 10165




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                  Page 3
                               Case 23-16969                   Doc 1      Filed 09/29/23                Page 12 of 49


 Fill in this lnformatlon to ldentify the case and this fillng:


 Debtor Name Roman Catholic             Archbishop of Faltimore
 United States Bankruptcy Court for the District of Maryland

 Case number (/tknowr):




Official Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                                                    12t15

An individual who is authorized to act on behalf of a non-indlvidual debtor, such as a corporation or partnorship, must sign and submit
this form for the schedules of assets and liabilitles, any other document that requires a declaratlon that is not lncluded in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crlme. Making a false statement, concealing property, or obtaining money or property by fraud ln
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both, 18 U'S.C. $S 152, 1341'
1519, and 3571.



            Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative ofthe debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



         tr Schedule A/B: Assefs-Re al and Personal Property (Otficial Form 206A/8)
         tr Schedule D: Creditors Who Have Claims Secured by Propefty (Olflcial Form 206D)
         tr Schedule ilF: Creditors Who Have Unsecured C/ams (Official Form 206E/F)
         n Schedu/e G: Executory Contracts and Unexpired Leases (Official Form 206G)
         tr Schedule H: Codebtors (Official Form 206H)
         tr Summary of Assets and Liabilities for Non-lndividuals (Official Form 206Sum)
         I Amended Schedule _
         m     Chapter 11 or Chapter 9 Casesr Lisf of C reditors Who Have the 20 Largest Unsecured Claims and Are Nol /nslders (Official Form 204)


         n Other document that requ ires a declaration


         I declare under penalty of perjury that the foregoing is true and correct.



         Executedon 9.21 -?a,79
                          MM/DD/YYYY
                                                               r ).u* [.r,*
                                                                  Signature of individual signing on behalf of debtor



                                                                  Wiil;t,^ E. loAi
                                                                  Printed name

                                                                  I n.h!)tA"p
                                                                  Position or relationship to debtor




Official Form 202                              Declaration Under Penalty of PerJury for Non-lndividual Debtors
                    Case 23-16969            Doc 1      Filed 09/29/23         Page 13 of 49




                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND

 In re:                                                       Chapter 11

 ROMAN CATHOLIC ARCHBISHOP OF                                 Case No. [______]
 BALTIMORE,
                                      1
                            Debtor.


                            CORPORATE OWNERSHIP STATEMENT
                           AND LIST OF EQUITY SECURITY HOLDERS

       There are no entities to report under rules 1007(a)(3) and 7007.1 of the Federal Rules of
Bankruptcy Procedure, as the above-captioned debtor and debtor in possession is a nonprofit
corporation sole with no equity ownership.




1 The last four digits of the Debtor’s federal tax identification number are: 1535. The Debtor’s principal place of
business is located at 320 Cathedral Street, Baltimore, Maryland 21201.


#228404996_v4
                        Case 23-16969         Doc 1      Filed 09/29/23         Page 14 of 49



                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND

    In re:                                                   Chapter 11

    ROMAN CATHOLIC ARCHBISHOP OF                             Case No. [______]
    BALTIMORE,

                             Debtor.1


         NOTICE OF APPLICATION OF COMPLEX CHAPTER 11 CASE PROCEDURES

        The Complex Chapter 11 Case Procedures established by Local Bankruptcy Rule 1002-3
shall apply to the above-captioned case(s) for the following reasons:

    I.   Mandatory application of Complex Chapter 11 Case Procedures (Check all that apply):

             (X) The debtor, including affiliates, if any, has liabilities of at least $10 million (US).

             (X) More than fifty (50) creditors, including affiliates, are listed in the debtor’s
                 schedules.

             ( ) A portion of the debt or equity securities of the debtor or any one of the affiliated
                 debtors is publicly traded.

    II. Voluntary election to proceed under Complex Chapter 11 Case Procedures:

             ( ) The debtor does not satisfy any of the three (3) criteria set forth in Section I herein,
                 but nevertheless elects to proceed under the Complex Chapter 11 Case Procedures.




1
 The last four digits of the Debtor’s federal tax identification number are: 1535. The Debtor’s principal place of
business is located at 320 Cathedral Street, Baltimore, Maryland 21201.
                Case 23-16969   Doc 1     Filed 09/29/23    Page 15 of 49



Dated: September 29, 2023               Respectfully submitted,


                                               /s/ Catherine K. Hopkin
                                        Catherine K. Hopkin (Federal Bar No. 28257)
                                        YVS LAW, LLC
                                        185 Admiral Cochrane Drive, Suite 130
                                        Annapolis, MD 21401
                                        Telephone: 443.569.0788
                                        Facsimile:     410.571.2798
                                        Email: chopkin@yvslaw.com

                                        -and-

                                        Blake D. Roth (pro hac vice pending)
                                        Tyler N. Layne (pro hac vice pending)
                                        HOLLAND & KNIGHT LLP
                                        511 Union Street, Suite 2700
                                        Nashville, TN 37219
                                        Telephone: 615.244.6380
                                        Facsimile:     615.244.6804
                                        Email: blake.roth@hklaw.com
                                               tyler.layne@hklaw.com
                                        -and-
                                        Philip T. Evans (Fed. Bar No. 11796)
                                        HOLLAND & KNIGHT LLP
                                        800 17th Street, NW, Suite 1100
                                        Washington, DC 20006
                                        Telephone: 202.457.7043
                                        Email: philip.evans@hklaw.com


                                        Proposed Attorneys for the Debtor and Debtor
                                        In Possession




                                            2
                  Case 23-16969      Doc 1     Filed 09/29/23    Page 16 of 49



                                    CERTIFICATE OF SERVICE

       Epiq Corporate Restructuring, LLC will cause a true and correct copy of the foregoing to be

served on all parties required to be served, with a certificate or affidavit of service to be filed

subsequently, all in accordance with Local Rule 9013-4.


                                                    /s/ Catherine K. Hopkin
                                             Catherine K. Hopkin (Fed. Bar No. 28257)
                                             YVS LAW, LLC
                                             185 Admiral Cochrane Drive, Suite 130
                                             Annapolis, MD 21401
                                             Telephone: 443.569.0788
                                             Facsimile:     410.571.2798
                                             Email: chopkin@yvslaw.com

                                             Proposed Attorneys for the Debtor and Debtor
                                             In Possession




                                                 3
                 Case 23-16969          Doc 1      Filed 09/29/23         Page 17 of 49




                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND

 In re:                                                    Chapter 11

 ROMAN CATHOLIC ARCHBISHOP OF                              Case No
 BALTIMORE,

                           Debtor.l


                              VERIFTCATION OF CREDITOR MATRD(

          The above-captioned debtor hereby verifies that the attached list of creditors is true and

correct to the best of his knowledge.

Dated: 9 - 2                 2023
                                                             turup { {-.-.
                                                              Most Rev. )Villiam E. Lori
                                                              Archbishop




rThe last four digits of the Debtor's federal tax identification number are 1535. The Debtor's principal place of
business is located at 320 Cathedral Street, Baltimore, Maryland 21201.
SURVIVOR 1                    Case 23-16969   Doc
                                        SURVIVOR 2 1        Filed 09/29/23   Page 18 of 49 3
                                                                                  SURVIVOR
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




SURVIVOR 4                              [NAME REDACTED]                           SURVIVOR 5
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




SURVIVOR 6                              SURVIVOR 7                                [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




ALLEGANY COUNTY SHERIFF                 ALLEGANY COUNTY STATE ATTORNEY            SURVIVOR 8
CRAIG ROBERTSON- SHERIFF                JAMES EILLIOTT, ESQ- STATES ATTORNEY      [ADDRESS ON FILE]
695 KELLY ROAD                          59 PROSPECT SQUARE, STE 111
CUMBERLAND, MD 21502                    CUMBERLAND, MD 21502




SURVIVOR 9                              [NAME REDACTED]                           [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




[NAME REDACTED]                         SURVIVOR 10                               [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




ANNE ARUNDEL COUNTY SHERIFF             ANNE ARUNDEL COUNTY STATE ATTORNEY        ANNE ARUNDEL COUNTY
EVERETT SESKER- SHERIFF                 ANNE COLT LEITESS- STATES ATTORNEY        OFFICE OF FINANCE
8 CHURCH CIRCLE                         8 CHURCH CIRCLE, STE 200                  PO BOX 17003
ANNAPOLIS, MD 21401                     ANNAPOLIS, MD 21401                       ANNAPOLIS
                                                                                  MD, 21297



[NAME REDACTED]                         SURVIVOR 11                               [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




SURVIVOR 12                             SURVIVOR 13                               SURVIVOR 14
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]




SURVIVOR 15                             SURVIVOR 16                               SURVIVOR 17
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                         [ADDRESS ON FILE]
SURVIVOR 18               Case 23-16969   Doc
                                    SURVIVOR 19 1        Filed 09/29/23   Page 19 of 49 20
                                                                               SURVIVOR
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 21                          SURVIVOR 22                                SURVIVOR 23
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                      SURVIVOR 24                                SURVIVOR 25
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 26                          BALTIMORE COUNTY SHERIFF                   BALTIMORE COUNTY STATE ATTORNEY
[ADDRESS ON FILE]                    R. JAY FISHER- SHERIFF                     SCOTT D. SHELLENBERGER- STATES
                                     COUNTY COURTS BUILDING                     ATTORNEY
                                     401 BOSLEY AVE. GROUND FL                  COUNTY COURTS BUILDING
                                     TOWSON, MD 21204                           401 BOSLEY AVE, 511
                                                                                TOWSON, MD 21204


BALTIMORE DEPARTMENT OF LABOR        BALTIMORE WATER & SEWER DIRECTOR OF        BALTIMORE WATER & SEWER DIRECTOR OF
1100 NORTH EUTAW STREET,             FINANCE                                    FINANCE
BALTIMORE                            100 N. HOLLIDAY ST                         BUREAU OF REVENUE COLLECTIONS
MD, 21201                            BALTIMORE                                  PO BOX 17535
                                     MD, 21202                                  BALTIMORE
                                                                                MD, 21297


SURVIVOR 27                          BANK OF AMERICA                            BANK OF AMERICA
[ADDRESS ON FILE]                    CUSTOMER SERVICE                           MAIN
                                     PO BOX 25118                               PO BOX 15284
                                     TAMPA                                      WILMINGTON
                                     FL, 33622-5118                             DE, 19850



SURVIVOR 28                          SURVIVOR 29                                SURVIVOR 29
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                          C/O SMITH, GILDEA & SCHMIDT, LLC
                                                                                ATTN: STEPHEN J. NOLAN
                                                                                600 WASHINGTON AVE, STE 200
                                                                                TOWSON, MD 21204



SURVIVOR 30                          SURVIVOR 31                                SURVIVOR 32
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 33                          [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 34                          SURVIVOR 35                                SURVIVOR 36
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 37           Case 23-16969    Doc 1 Filed 09/29/23
                                [NAME REDACTED]               Page 20 of 49 38
                                                                   SURVIVOR
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 39                     SURVIVOR 40                         SURVIVOR 42
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 41                     SURVIVOR 43                         SURVIVOR 44
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]                 SURVIVOR 45                         SURVIVOR 46
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 46                     BGE                                 BGE
C/O KBA ATTORNEYS               PO BOX 13070                        PO BOX 1475
ATTN: DEREK BRASLOW             PHILADELPHIA                        BANKRUPTCY DEPT
336 S. MAIN STREET              PA, 19101-3070                      BALTIMORE
BEL AIR, MD 21014                                                   MD, 21203



[NAME REDACTED]                 [NAME REDACTED]                     SURVIVOR 47
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]                 SURVIVOR 48                         SURVIVOR 50
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 49                     SURVIVOR 51                         SURVIVOR 52
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 53                     SURVIVOR 54                         SURVIVOR 55
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 56                     SURVIVOR 57                         [NAME REDACTED]
[ADDRESS ON FILE]               [ADDRESS ON FILE]                   [ADDRESS ON FILE]
[NAME REDACTED]              Case 23-16969   Doc
                                       SURVIVOR 58 1        Filed 09/29/23   Page 21 of REDACTED]
                                                                                  [NAME 49
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 59                             SURVIVOR 60                                SURVIVOR 61
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 62                             SURVIVOR 63                                SURVIVOR 64
C/O ASK, LLP                            [ADDRESS ON FILE]                          [ADDRESS ON FILE]
ATTN: JUDIE SAUNDERS, ESQ.
60 EAST 42ND STREET, 46TH FLOOR
NEW YORK, NK 10165



SURVIVOR 67                             SURVIVOR 66                                SURVIVOR 65
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 68                             SURVIVOR 69                                SURVIVOR 70
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 71                             SURVIVOR 72                                [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 73                             SURVIVOR 74                                SURVIVOR 75
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 76                             SURVIVOR 77                                [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 690                            SURVIVOR 78                                [NAME REDACTED]
C/O KBA ATTORNEYS                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]
ATTN: DEREK BRASLOW
336 S. MAIN STREET
BEL AIR, MD 21014



SURVIVOR 79                             [NAME REDACTED]                            SURVIVOR 80
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 81                 Case 23-16969   Doc
                                      SURVIVOR 82 1         Filed 09/29/23   Page 22 of 49 83
                                                                                  SURVIVOR
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 84                             SURVIVOR 85                                CARROLL COUNTY SHERIFF
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          JAMES T. DEWEES- SHERIFF
                                                                                   100 N. COURT STREET
                                                                                   WESTMINSTER, MD 21157




CARROLL COUNTY STATE ATTORNEY           SURVIVOR 86                                SURVIVOR 87
HAVEN N. SHOEMAKER JR- STATES           [ADDRESS ON FILE]                          [ADDRESS ON FILE]
ATTORNEY
55 N. COURT ST, 100
WESTMINSTER, MD 21157



SURVIVOR 88                             [NAME REDACTED]                            SURVIVOR 89
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 89                             SURVIVOR 90                                SURVIVOR 91
C/O LAW OFFICE OF MITCHELL GARABEDIAN   [ADDRESS ON FILE]                          [ADDRESS ON FILE]
100 STATE STREET 6
BOSTON, MA 02109




SURVIVOR 92                             SURVIVOR 93                                [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 94                             SURVIVOR 95                                SURVIVOR 96
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




CITY OF BALTIMORE                       SURVIVOR 97                                SURVIVOR 99
CITY HALL- ROOM 250                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]
100 N. HOLLIDAY ST
BALTIMORE, MD 21202




SURVIVOR 98                             SURVIVOR 101                               SURVIVOR 100
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 102                            [NAME REDACTED]                            SURVIVOR 105
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 106               Case 23-16969   Doc
                                     SURVIVOR 1041        Filed 09/29/23   Page 23 of 49 103
                                                                                SURVIVOR
C/O FORESTER HAYNIE PLLC              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
ATTN: ASHLEY M. PILEIKA
400 NORTH ST. 46TH FL
NEW YORK, NY 10165



SURVIVOR 107                          COMCAST                                    SURVIVOR 108
[ADDRESS ON FILE]                     PO BOX 70219                               [ADDRESS ON FILE]
                                      PHILADELPHIA
                                      PA, 19176-0219




[NAME REDACTED]                       SURVIVOR 109                               [NAME REDACTED]
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                       SURVIVOR 110                               SURVIVOR 111
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 112                          SURVIVOR 113                               SURVIVOR 114
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 115                          SURVIVOR 116                               [NAME REDACTED]
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                       SURVIVOR 117                               SURVIVOR 118
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 119                          SURVIVOR 120                               SURVIVOR 121
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 122                          SURVIVOR 123                               SURVIVOR 124
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 125                          SURVIVOR 126                               SURVIVOR 127
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]
[NAME REDACTED]       Case 23-16969   Doc
                                SURVIVOR 1281        Filed 09/29/23   Page 24 of 49 129
                                                                           SURVIVOR
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 130                     [NAME REDACTED]                            SURVIVOR 131
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 132                     SURVIVOR 133                               SURVIVOR 134
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 135                     SURVIVOR 136                               SURVIVOR 137
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 138                     [NAME REDACTED]                            SURVIVOR 139
C/O KBA ATTORNEYS                [ADDRESS ON FILE]                          [ADDRESS ON FILE]
ATTN: DEREK BRASLOW
336 S. MAIN STREET
BEL AIR, MD 21014



[NAME REDACTED]                  SURVIVOR 140                               SURVIVOR 141
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                  SURVIVOR 142                               SURVIVOR 143
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                  SURVIVOR 144                               [NAME REDACTED]
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                  SURVIVOR 145                               SURVIVOR 146
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 147                     SURVIVOR 148                               SURVIVOR 149
[ADDRESS ON FILE]                [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 150                  Case 23-16969   Doc
                                        SURVIVOR 1511        Filed 09/29/23   Page 25 of REDACTED]
                                                                                   [NAME 49
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                          SURVIVOR 152                               SURVIVOR 153
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 154                             [NAME REDACTED]                            SURVIVOR 155
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 157                             SURVIVOR 156                               [NAME REDACTED]
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                          [NAME REDACTED]                            SURVIVOR 158
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 159                             SURVIVOR 160                               [NAME REDACTED]
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 687                             SURVIVOR 161                               SURVIVOR 162
C/O THE COCHRAN FIRM                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]
ATTN: DAVID E. HAYNES
1666 K STREET NW, STE. 1150
WASHINGTON, DC 20006



[NAME REDACTED]                          [NAME REDACTED]                            SURVIVOR 163
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                          SURVIVOR 164                               SURVIVOR 165
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 166                             SURVIVOR 167                               SURVIVOR 168
[ADDRESS ON FILE]                        [ADDRESS ON FILE]                          [ADDRESS ON FILE]
[NAME REDACTED]               Case 23-16969    Doc 1 Filed 09/29/23
                                        [NAME REDACTED]               Page 26 of 49 169
                                                                           SURVIVOR
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 170                            SURVIVOR 171                        SURVIVOR 172
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]                         [NAME REDACTED]                     SURVIVOR 173
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 174                            [NAME REDACTED]                     SURVIVOR 175
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 176                            SURVIVOR 177                        SURVIVOR 178
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]                         SURVIVOR 179                        SURVIVOR 180
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 181                            SURVIVOR 182                        FREDERICK COUNTY SHERIFF
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   CHUCK JENKINS- SHERIFF
                                                                            110 AIRPORT DRIVE EAST
                                                                            FREDERICK, MD 21701




FREDERICK COUNTY STATE ATTORNEY         SURVIVOR 183                        SURVIVOR 184
J. CHARLES SMITH III- STATES ATTORNEY   [ADDRESS ON FILE]                   [ADDRESS ON FILE]
100 W. PATRICK ST.
FREDERICK, MD 21701




SURVIVOR 185                            SURVIVOR 187                        SURVIVOR 186
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 188                            SURVIVOR 189                        SURVIVOR 190
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                   [ADDRESS ON FILE]
SURVIVOR 191        Case 23-16969    Doc 1 Filed 09/29/23
                              [NAME REDACTED]               Page 27 of 49 193
                                                                 SURVIVOR
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 192                  SURVIVOR 194                        SURVIVOR 195
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               GARRETT COUNTY SHERIFF              GARRETT COUNTY STATE ATTORNEY
[ADDRESS ON FILE]             BRYSON MEYERS- SHERIFF              CHRISTIAN W. MASH- STATES ATTORNEY
                              311 E. ALDER STREET                 FREDERICK A. THAYER III COURTHOUSE
                              OAKLAND, MD 21550                   313 EAST ALDER ST, 200
                                                                  OAKLAND, MD 21550



SURVIVOR 196                  SURVIVOR 197                        [NAME REDACTED]
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 198                  [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 199                  SURVIVOR 200                        SURVIVOR 201
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 202                  [NAME REDACTED]                     SURVIVOR 203
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 204                  SURVIVOR 205                        SURVIVOR 206
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 207                  SURVIVOR 208                        SURVIVOR 209
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               [NAME REDACTED]                     SURVIVOR 210
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]
SURVIVOR 211                 Case 23-16969   Doc
                                       SURVIVOR 2121        Filed 09/29/23   Page 28 of 49 213
                                                                                  SURVIVOR
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 215                            SURVIVOR 214                               [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 216                            [NAME REDACTED]                            SURVIVOR 217
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 218                            SURVIVOR 219                               SURVIVOR 220
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 220                            SURVIVOR 221                               SURVIVOR 222
C/O CLARKSON LAW FIRM P.C.              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
ATTN: TRACEY COWAN
95 3RD STREET, 2ND FLOOR
SAN FRANCISCO, CA 94103



SURVIVOR 223                            SURVIVOR 224                               [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 225                            H.C. MCCOMAS FUEL CO.                      SURVIVOR 226
[ADDRESS ON FILE]                       2301 EVERGREEN STREET                      [ADDRESS ON FILE]
                                        BALTIMORE
                                        MD, 21216




[NAME REDACTED]                         SURVIVOR 228                               SURVIVOR 227
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 229                            SURVIVOR 230                               SURVIVOR 231
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




HARBOR COMMUNITY FUND XXI LLC           HARBOR COMMUNITY FUND XXI LLC              HARFORD COUNTY SHERIFF
ATTN: JOSEPH HASKINS, JR.               C/O BALLARD SPAHR LLP                      JEFF GAHLER- SHERIFF
25 WEST FAYETTE STREET                  ATTN: MOLLY R. BRYSON, ESQ.                45 SOUTH MAIN ST
BALTIMORE, MD 21201                     1909 K STREET NW, 12TH FLOOR               BEL AIR, MD 21014
                                        WASHINGTON, DC 20006
HARFORD COUNTY STATE ATTORNEYCase 23-16969    Doc 1 Filed 09/29/23
                                       [NAME REDACTED]               Page 29 of 49 232
                                                                          SURVIVOR
ALISON M. HEALEY- STATES ATTORNEY      [ADDRESS ON FILE]                   [ADDRESS ON FILE]
20 W COURTLAND ST
BEL AIR, MD 21014




SURVIVOR 233                         [NAME REDACTED]                       SURVIVOR 691
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     C/O THE SUDER LAW FIRM, P.A.
                                                                           ATTN: JOANNE SUDER
                                                                           1101 SAINT PAUL ST., STE. 111
                                                                           BALTIMORE, MD 21202



[NAME REDACTED]                      SURVIVOR 234                          SURVIVOR 235
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 236                         SURVIVOR 239                          SURVIVOR 237
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 238                         SURVIVOR 240                          [NAME REDACTED]
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 241                         SURVIVOR 242                          [NAME REDACTED]
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 243                         SURVIVOR 244                          SURVIVOR 245
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 246                         SURVIVOR 247                          SURVIVOR 248
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 249                         SURVIVOR 250                          SURVIVOR 251
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     [ADDRESS ON FILE]




[NAME REDACTED]                      SURVIVOR 252                          [NAME REDACTED]
[ADDRESS ON FILE]                    [ADDRESS ON FILE]                     [ADDRESS ON FILE]
[NAME REDACTED]              Case 23-16969   Doc
                                       SURVIVOR 2531        Filed 09/29/23   Page 30 of REDACTED]
                                                                                  [NAME 49
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                         SURVIVOR 254                               [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 255                            SURVIVOR 256                               SURVIVOR 257
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 258                            SURVIVOR 259                               SURVIVOR 260
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 261                            SURVIVOR 262                               SURVIVOR 263
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 264                            SURVIVOR 265                               [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 266                            SURVIVOR 267                               SURVIVOR 268
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 269                            SURVIVOR 270                               SURVIVOR 271
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 272                            SURVIVOR 273                               SURVIVOR 274
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




HOWARD COUNTY SHERIFF                   HOWARD COUNTY STATE ATTORNEY               SURVIVOR 275
MARCUS HARRIS- SHERIFF                  RICHARD H. GIBSON- STATES ATTORNEY         [ADDRESS ON FILE]
CIRCUIT COURTHOUSE, 2ND FL              CIRCUIT COURTHOUSE
9250 JUDICIAL WAY                       9250 JUDICIAL WAY
ELLICOTT CITY, MD 21043                 ELLICOTT CITY, MD 21043
SURVIVOR 276        Case 23-16969   Doc
                              SURVIVOR 2771        Filed 09/29/23   Page 31 of REDACTED]
                                                                         [NAME 49
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 278                               INS COMPLIANCE & REPORTING DIVISION
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          WORKERS’ COMPENSATION COMMISSION
                                                                          10 EAST BALTIMORE STREET
                                                                          BALTIMORE
                                                                          MD, 21202-1641



[NAME REDACTED]                SURVIVOR 279                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 280                   [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 281                   [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 284                   [NAME REDACTED]                            SURVIVOR 282
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 285                   [NAME REDACTED]                            SURVIVOR 283
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 286                   [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 287                               SURVIVOR 288
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 289                   [NAME REDACTED]                            SURVIVOR 290
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 291        Case 23-16969   Doc
                              SURVIVOR 2921        Filed 09/29/23   Page 32 of 49 293
                                                                         SURVIVOR
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 295                   SURVIVOR 294                               SURVIVOR 296
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                [NAME REDACTED]                            SURVIVOR 297
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 298                   SURVIVOR 299                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 300                   SURVIVOR 301                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 302                   SURVIVOR 303                               SURVIVOR 304
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 305                   SURVIVOR 306                               SURVIVOR 307
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                [NAME REDACTED]                            SURVIVOR 308
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 309                   SURVIVOR 310                               SURVIVOR 311
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 312                   SURVIVOR 313                               SURVIVOR 314
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 315        Case 23-16969   Doc
                              SURVIVOR 3161        Filed 09/29/23   Page 33 of 49 317
                                                                         SURVIVOR
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 318                               SURVIVOR 319
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 320                   SURVIVOR 321                               SURVIVOR 322
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 323                               SURVIVOR 324
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 325                   SURVIVOR 326                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 327                   SURVIVOR 328                               SURVIVOR 329
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 330                   [NAME REDACTED]                            SURVIVOR 332
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 331                   SURVIVOR 333                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 334                               SURVIVOR 335
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 336                               SURVIVOR 337
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 338              Case 23-16969    Doc 1 Filed 09/29/23
                                    [NAME REDACTED]               Page 34 of REDACTED]
                                                                       [NAME 49
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 339                        SURVIVOR 340                        SURVIVOR 341
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 342                        [NAME REDACTED]                     SURVIVOR 343
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 344                        [NAME REDACTED]                     SURVIVOR 345
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]                     SURVIVOR 346                        SURVIVOR 347
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 348                        [NAME REDACTED]                     SURVIVOR 349
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]




LUMINACE SOLAR HOLDINGS             SURVIVOR 350                        M&T BANK
PO BOX 856260                       [ADDRESS ON FILE]                   ONE LIGHT STREET – 16TH FL
MINNEAPOLIS                                                             BALTIMORE
MN, 55485-6260                                                          MD, 21202




[NAME REDACTED]                     [NAME REDACTED]                     SURVIVOR 351
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]                     [NAME REDACTED]                     SURVIVOR 353
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 352                        [NAME REDACTED]                     [NAME REDACTED]
[ADDRESS ON FILE]                   [ADDRESS ON FILE]                   [ADDRESS ON FILE]
SURVIVOR 354                    Case 23-16969   Doc
                                          SURVIVOR 3551        Filed 09/29/23   Page 35 of 49 357
                                                                                     SURVIVOR
[ADDRESS ON FILE]                          [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 356                               [NAME REDACTED]                            SURVIVOR 358
[ADDRESS ON FILE]                          [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 359                               SURVIVOR 360                               SURVIVOR 361
[ADDRESS ON FILE]                          [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 362                               SURVIVOR 363                               SURVIVOR 365
[ADDRESS ON FILE]                          [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 692                               SURVIVOR 364                               MARYLAND ATTORNEY GENERAL OFFICE
C/O JANET, JANET & SUGGS, LLC              [ADDRESS ON FILE]                          ANTHONY G. BROWN- ATTORNEY GENERAL
4 RESERVOIR CIRCLE                                                                    200 ST. PAUL PLACE
SUITE 200                                                                             BALTIMORE, MD 21202
BALTIMORE, MD 21208



MARYLAND VEHICLE ADMINISTRATION            [NAME REDACTED]                            [NAME REDACTED]
6801 RITCHIE HIGHWAY, NE, ROOM 200         [ADDRESS ON FILE]                          [ADDRESS ON FILE]
GLEN BURNIE
MD, 21062




SURVIVOR 366                               [NAME REDACTED]                            SURVIVOR 367
[ADDRESS ON FILE]                          [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 368                               [NAME REDACTED]                            SURVIVOR 369
[ADDRESS ON FILE]                          [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                            [NAME REDACTED]                            SURVIVOR 370
[ADDRESS ON FILE]                          [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                            [NAME REDACTED]                            SURVIVOR 689
[ADDRESS ON FILE]                          [ADDRESS ON FILE]                          C/O THE COCHRAN FIRM
                                                                                      ATTN: DAVID E. HAYNES
                                                                                      1666 K STREET NW, STE. 1150
                                                                                      WASHINGTON, DC 20006
SURVIVOR 371        Case 23-16969   Doc
                              SURVIVOR 3721        Filed 09/29/23   Page 36 of 49 373
                                                                         SURVIVOR
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 374                   SURVIVOR 375                               SURVIVOR 376
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 377                   SURVIVOR 378                               SURVIVOR 379
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 380                   SURVIVOR 381                               SURVIVOR 382
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 383                   SURVIVOR 384                               SURVIVOR 385
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 386                   SURVIVOR 387                               SURVIVOR 388
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 389                   [NAME REDACTED]                            SURVIVOR 390
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 391                   SURVIVOR 397                               SURVIVOR 393
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 396                   SURVIVOR 394                               SURVIVOR 392
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 395                   SURVIVOR 398                               SURVIVOR 399
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 400        Case 23-16969    Doc 1 Filed 09/29/23
                              [NAME REDACTED]               Page 37 of 49 401
                                                                 SURVIVOR
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               SURVIVOR 402                        [NAME REDACTED]
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               SURVIVOR 405                        SURVIVOR 403
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 404                  SURVIVOR 406                        [NAME REDACTED]
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 407                  SURVIVOR 408                        SURVIVOR 409
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 410                  SURVIVOR 411                        SURVIVOR 412
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               [NAME REDACTED]                     SURVIVOR 413
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 414                  [NAME REDACTED]                     SURVIVOR 415
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 416                  SURVIVOR 417                        SURVIVOR 418
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 419                  SURVIVOR 420                        SURVIVOR 421
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]
SURVIVOR 422                Case 23-16969   Doc
                                      SURVIVOR 4231        Filed 09/29/23   Page 38 of 49 424
                                                                                 SURVIVOR
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 425                           SURVIVOR 426                               SURVIVOR 427
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 428                           [NAME REDACTED]                            SURVIVOR 429
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                          C/O KANDEL & ASSOCIATES, P.A.
                                                                                  1001 N. CALVERT STREET
                                                                                  BALTIMORE, MD 21202




SURVIVOR 430                           SURVIVOR 431                               NRG CURTAILMENT SOLUTIONS
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                          804 CARNEGIE CENTER
                                                                                  PRINCETON
                                                                                  NJ, 08540




SURVIVOR 432                           SURVIVOR 433                               SURVIVOR 434
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 435                           [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 436                           SURVIVOR 437                               [NAME REDACTED]
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                          [ADDRESS ON FILE]




OFFICE OF THE UNITED STATES TRUSTEE    [NAME REDACTED]                            [NAME REDACTED]
FOR                                    [ADDRESS ON FILE]                          [ADDRESS ON FILE]
THE DISTRICT OF MARYLAND
GERARD R. VETTER
101 WEST LOMBARD STREET, STE 2626
BALTIMORE, MD 21201


SURVIVOR 438                           SURVIVOR 439                               SURVIVOR 440
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 441                           SURVIVOR 688                               SURVIVOR 442
[ADDRESS ON FILE]                      C/O THE COCHRAN FIRM                       [ADDRESS ON FILE]
                                       ATTN: DAVID E. HAYNES
                                       1666 K STREET NW, STE. 1150
                                       WASHINGTON, DC 20006
SURVIVOR 443        Case 23-16969   Doc
                              SURVIVOR 4441        Filed 09/29/23   Page 39 of 49 445
                                                                         SURVIVOR
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                [NAME REDACTED]                            SURVIVOR 446
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                [NAME REDACTED]                            SURVIVOR 448
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 447                   [NAME REDACTED]                            SURVIVOR 449
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 450                   SURVIVOR 451                               SURVIVOR 452
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 453                               SURVIVOR 454
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 455                   SURVIVOR 456                               SURVIVOR 457
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 458                   SURVIVOR 460                               SURVIVOR 459
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 461                   SURVIVOR 463                               SURVIVOR 462
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 464                   SURVIVOR 465                               SURVIVOR 466
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 467               Case 23-16969   Doc
                                     SURVIVOR 4681        Filed 09/29/23   Page 40 of 49 469
                                                                                SURVIVOR
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




PNC BANK                              SURVIVOR 471                               SURVIVOR 470
C/O BUCHANAN INGERSOLL & ROONEY PC    [ADDRESS ON FILE]                          [ADDRESS ON FILE]
UNION TRUST BUILDING
501 GRANT STREET, SUITE 200
PITTSBURGH, PA 15219-4413



SURVIVOR 472                          SURVIVOR 474                               SURVIVOR 473
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 477                          SURVIVOR 476                               SURVIVOR 475
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                       [NAME REDACTED]                            SURVIVOR 478
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                       SURVIVOR 479                               SURVIVOR 480
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 481                          SURVIVOR 482                               [NAME REDACTED]
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 483                          SURVIVOR 484                               [NAME REDACTED]
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 485                          SURVIVOR 486                               SURVIVOR 487
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 488                          SURVIVOR 490                               SURVIVOR 489
[ADDRESS ON FILE]                     [ADDRESS ON FILE]                          [ADDRESS ON FILE]
[NAME REDACTED]     Case 23-16969    Doc 1 Filed 09/29/23
                              [NAME REDACTED]               Page 41 of 49 491
                                                                 SURVIVOR
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               SURVIVOR 492                        [NAME REDACTED]
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 493                  [NAME REDACTED]                     SURVIVOR 494
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 495                  [NAME REDACTED]                     SURVIVOR 496
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               SURVIVOR 497                        [NAME REDACTED]
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               SURVIVOR 498                        SURVIVOR 499
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 500                  SURVIVOR 501                        SURVIVOR 502
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               [NAME REDACTED]                     SURVIVOR 503
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 504                  [NAME REDACTED]                     SURVIVOR 505
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               SURVIVOR 506                        SURVIVOR 507
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]
SURVIVOR 508        Case 23-16969    Doc 1 Filed 09/29/23
                              [NAME REDACTED]               Page 42 of 49 509
                                                                 SURVIVOR
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 510                  [NAME REDACTED]                     SURVIVOR 511
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 512                  SURVIVOR 513                        [NAME REDACTED]
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 514                  SURVIVOR 515                        SURVIVOR 516
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 517                  SURVIVOR 518                        SURVIVOR 519
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 520                  [NAME REDACTED]                     SURVIVOR 521
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 522                  SURVIVOR 523                        SURVIVOR 524
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 525                  SURVIVOR 526                        [NAME REDACTED]
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 527                  SURVIVOR 528                        SURVIVOR 529
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 530                  SURVIVOR 531                        SURVIVOR 532
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]
SURVIVOR 533        Case 23-16969   Doc
                              SURVIVOR 5351        Filed 09/29/23   Page 43 of 49 534
                                                                         SURVIVOR
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 536                   [NAME REDACTED]                            [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 537                   SURVIVOR 538                               SURVIVOR 539
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 540                   [NAME REDACTED]                            SURVIVOR 541
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 542                   SURVIVOR 543                               SURVIVOR 544
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 545                   SURVIVOR 546                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 547                   SURVIVOR 548                               SURVIVOR 549
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 550                   SURVIVOR 552                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 559                   SURVIVOR 558                               SURVIVOR 553
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 556                   SURVIVOR 557                               SURVIVOR 555
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 551                 Case 23-16969   Doc
                                       SURVIVOR 5541        Filed 09/29/23   Page 44 of REDACTED]
                                                                                  [NAME 49
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 560                            SURVIVOR 561                               SURVIVOR 563
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 562                            SURVIVOR 564                               SURVIVOR 565
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 566                            [NAME REDACTED]                            SURVIVOR 567
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                         SURVIVOR 568                               [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 569                            SURVIVOR 570                               SURVIVOR 571
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 572                            SURVIVOR 573                               SURVIVOR 574
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 575                            SURVIVOR 576                               SURVIVOR 577
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 577                            SURVIVOR 579                               SURVIVOR 578
C/O CLARKSON LAW FIRM P.C.              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
ATTN: TRACEY COWAN
95 3RD STREET, 2ND FLOOR
SAN FRANCISCO, CA 94103



SURVIVOR 580                            SURVIVOR 581                               [NAME REDACTED]
[ADDRESS ON FILE]                       [ADDRESS ON FILE]                          [ADDRESS ON FILE]
SURVIVOR 582        Case 23-16969   Doc
                              SURVIVOR 5831        Filed 09/29/23   Page 45 of 49 584
                                                                         SURVIVOR
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 585                               SURVIVOR 586
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 587                   SURVIVOR 588                               SURVIVOR 589
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 590                   SURVIVOR 591                               SURVIVOR 592
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 594                   SURVIVOR 593                               SURVIVOR 595
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 596                               SURVIVOR 597
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 598                   SURVIVOR 599                               SURVIVOR 686
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          C/O CLARKSON LAW FIRM P.C.
                                                                          ATTN: TRACEY COWAN
                                                                          95 3RD STREET, 2ND FLOOR
                                                                          SAN FRANCISCO, CA 94103



SURVIVOR 601                   SURVIVOR 600                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 605                   SURVIVOR 602                               SURVIVOR 604
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 606                   SURVIVOR 607                               SURVIVOR 603
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
[NAME REDACTED]                    Case 23-16969   Doc
                                             SURVIVOR 6081        Filed 09/29/23   Page 46 of REDACTED]
                                                                                        [NAME 49
[ADDRESS ON FILE]                             [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 609                                  [NAME REDACTED]                            SURVIVOR 610
[ADDRESS ON FILE]                             [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 611                                  SURVIVOR 612                               SURVIVOR 613
[ADDRESS ON FILE]                             [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 614                                  SURVIVOR 615                               SURVIVOR 616
[ADDRESS ON FILE]                             [ADDRESS ON FILE]                          [ADDRESS ON FILE]




U.S. BANCORP COMMUNITY                        U.S. BANCORP COMMUNITY                     UACD SUB CDE 47 LLC
DEVELOPMENT CORPORATION                       DEVELOPMENT CORPORATION                    C/O DENTONS US LLP
1307 WASHINGTON AVENUE, SUITE 300             C/O STINSON LLP; DAVID LUTZ                ATTN: JENNIFER SIMMONS, ESQ.
ATTN: DIRECTOR OF ASSET MANAGEMENT –          1299 FARNAM STREET, STE. 1500              ONE METROPOLITAN SQUARE, STE. 3000
NMTC PROJECT : 27306                          OMAHA, NE 68102                            ST. LOUIS, MO 63102
ST. LOUIS, MO 63103


UACD SUB CDE 47 LLC                           SURVIVOR 617                               SURVIVOR 618
C/O URBAN ACTION COMMUNITY                    [ADDRESS ON FILE]                          [ADDRESS ON FILE]
DEVELOPMENT LLC
2101 E. BIDDLE STREET, STE. 1201
BALTIMORE, MD 21213



[NAME REDACTED]                               SURVIVOR 619                               [NAME REDACTED]
[ADDRESS ON FILE]                             [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 693                                  [NAME REDACTED]                            SURVIVOR 620
C/O JANET, JANET & SUGGS, LLC                 [ADDRESS ON FILE]                          [ADDRESS ON FILE]
4 RESERVOIR CIRCLE
SUITE 200
BALTIMORE, MD 21208



VERIZON BUSINESS                              VERIZON                                    VERIZON
PO BOX 15124                                  22001 LOUDOUN COUNTY PARKWAY               PO BOX 16801
ALBANY                                        ASHBURN                                    NEWARK
NY, 12212-5124                                VA, 20147                                  NJ, 07101-6801




VICINITY ENERGY BALTIMORE COOL                VICINITY ENERGY BALTIMORE HEAT             SURVIVOR 621
PO BOX 29231                                  PO BOX 5015                                [ADDRESS ON FILE]
NEW YORK                                      NEW YORK
NY, 10087-9231                                NY, 10087-5015
SURVIVOR 622        Case 23-16969   Doc
                              SURVIVOR 6231        Filed 09/29/23   Page 47 of 49 624
                                                                         SURVIVOR
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 625                               [NAME REDACTED]
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




[NAME REDACTED]                SURVIVOR 626                               SURVIVOR 627
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 629                   SURVIVOR 628                               SURVIVOR 630
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 631                   SURVIVOR 632                               SURVIVOR 633
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 635                   SURVIVOR 634                               SURVIVOR 636
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 637                   SURVIVOR 638                               SURVIVOR 640
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 639                   SURVIVOR 641                               SURVIVOR 642
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]




SURVIVOR 643                   SURVIVOR 645                               SURVIVOR 645
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          C/O KBA ATTORNEYS
                                                                          ATTN: DEREK BRASLOW
                                                                          336 S. MAIN STREET
                                                                          BEL AIR, MD 21014



SURVIVOR 644                   SURVIVOR 646                               SURVIVOR 647
[ADDRESS ON FILE]              [ADDRESS ON FILE]                          [ADDRESS ON FILE]
WASHINGTON COUNTY SHERIFF   Case 23-16969   Doc 1
                                      WASHINGTON    Filed
                                                 COUNTY    09/29/23
                                                        STATE ATTORNEY Page 48 of REDACTED]
                                                                            [NAME 49
BRIAN K. ALBERT- SHERIFF               GINA CIRCINCION- STATES ATTORNEY      [ADDRESS ON FILE]
500 WESTERN MARYLAND PKWY              33 WEST WASHINGTON ST, 302
HAGERSTOWN, MD 21740                   HAGERSTOWN, MD 21740




[NAME REDACTED]                        [NAME REDACTED]                       SURVIVOR 649
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 648                           SURVIVOR 650                          SURVIVOR 651
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 652                           SURVIVOR 653                          SURVIVOR 654
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 655                           [NAME REDACTED]                       SURVIVOR 656
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 657                           WESBANCO                              SURVIVOR 658
[ADDRESS ON FILE]                      1 BANK PLAZA                          [ADDRESS ON FILE]
                                       WHEELING
                                       VA, 26003




SURVIVOR 659                           SURVIVOR 660                          SURVIVOR 661
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 662                           SURVIVOR 663                          SURVIVOR 664
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 665                           SURVIVOR 666                          SURVIVOR 667
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]




SURVIVOR 668                           [NAME REDACTED]                       SURVIVOR 669
[ADDRESS ON FILE]                      [ADDRESS ON FILE]                     [ADDRESS ON FILE]
[NAME REDACTED]     Case 23-16969    Doc 1 Filed 09/29/23
                              [NAME REDACTED]               Page 49 of 49 670
                                                                 SURVIVOR
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 671                  SURVIVOR 672                        SURVIVOR 673
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               SURVIVOR 674                        SURVIVOR 675
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 676                  SURVIVOR 677                        SURVIVOR 678
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 679                  SURVIVOR 680                        SURVIVOR 681
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




[NAME REDACTED]               [NAME REDACTED]                     SURVIVOR 682
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




SURVIVOR 683                  SURVIVOR 684                        SURVIVOR 685
[ADDRESS ON FILE]             [ADDRESS ON FILE]                   [ADDRESS ON FILE]




Total: 951
